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              IN THE UNITED STATES DISTRICT COURT FOR THE
                   EASTERN DISTRICT OF PENNSYLVANIA


STAFF INSPECTOR DEBRA FRAZIER

      And                                                    No.: 2:17-cv-05421-WB

CAPTAIN LA VERNE VANN                                        JURY TRIAL OF TWELVE (12)
                                                             DEMANDED
      And

LIEUTENANT ANTHONY BURTON

      And

POLICE OFFICER SHAMAL BRYANT

                    Plaintiffs,
               v.

CITY OF PHILADELPHIA
d/b/a PHILADELPHIA POLICE
DEPARTMENT
1515 Arch St, 16th FL
Philadelphia, PA 19102

      And
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 CHIEF INSPECTOR ANTHONY BOYLE
 Individually, and in his official capacity as a
 Chief Inspector for the
 PHILADELPHIA POLICE DEPARTMENT
 1515 Arch St, 16th FL
 Philadelphia, PA 19102

        And

 INSPECTOR RAYMOND EVERS
 Individually, and in his official capacity as an
 Inspector for the
 PHILADELPHIA POLICE DEPARTMENT
 1515 Arch St, 16th FL
 Philadelphia, PA 19102

        And

 JOHN DOES ##1-100,

                    Defendants.


                                    SECOND AMENDED
                                 CIVIL ACTION COMPLAINT

       Plaintiffs, Staff Inspector Debra Frazier, Captain Laverne Vann, Lieutenant Anthony

Burton, and Police Officer Shamal Bryant (collectively, "Plaintiffs") bring this action

against their employer, the City of Philadelphia d/b/a the Philadelphia Police Department

("PPD"), and their commanding officers, Chief Inspector Anthony Boyle and Inspector

Raymond Evers (collectively, Boyle and Evers are referred to herein as "Commanding

Officers") (collectively, the City and the Commanding Officers are referred to herein as

"Defendants"). Defendants have retaliated against Plaintiffs because of Plaintiffs' good

faith reporting of illegal policies, practices, customs and/or orders that were created,

implemented, and ratified by Commanding Officers and acquiesced to by PPD.




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         I.      JURISDICTION AND VENUE

         1.      Jurisdiction in this Honorable Court is based on federal question granted by 28

 U.S.C. § 1331; this Honorable Court is granted supplemental jurisdiction by 28 U.S.C. § 1367

 over Plaintiffs' state law claims.

        2.      Venue appropriately lies in this judicial district as the events giving rise to

Plaintiffs' claims occurred here and as at least one Defendant maintains its principle place of

business herein.

        II.     PARTIES

        3.      Plaintiff, Debra Frazier is a female African American adult individual who is a

Staff Inspector assigned to the Narcotics Bureau of the PPD and resides in the Commonwealth of

Pennsylvania. Plaintiff can be served care of her attorneys at the above-captioned address.

        4.      Plaintiff, Laverne Vann is a female African American adult individual who is a

Captain assigned to the Narcotics Bureau of the PPD and resides in the Commonwealth of

Pennsylvania. Plaintiff can be served care of her attorneys at the above-captioned address.

        5.      Plaintiff, Anthony Burton is a male African American adult individual who is a

Lieutenant assigned to the Narcotics Bureau of the PPD and resides in the Commonwealth of

Pennsylvania. Plaintiff can be served care of her attorneys at the above-captioned address.

        6.      Plaintiff, Shamal Bryant is a female African American adult individual who is a

Police Officer assigned to the Narcotics Bureau of the PPD and resides in the Commonwealth of

Pennsylvania. Plaintiff can be served care of her attorneys at the above-captioned address.

       7.      Defendant, City of Philadelphia, doing business as the Philadelphia Police

Department ("PPD"), is a municipality, duly organized and existing under the laws of the

Commonwealth of Pennsylvania, with an address for service at the above captioned address.



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        8.     Defendant, Anthony Boyle, is a white male adult individual who, at all times

material herein, was employed as a Chief Inspector for the Narcotics Bureau of the PPD.

Defendant is sued both individually and in his official capacity.

        9.     Defendant, Raymond Evers, is a white male adult individual who, at all times

material herein, was employed as an Inspector for the Narcotics Bureau of the PPD. Defendant

is sued both individually and in his official capacity.

        10.    Defendants, John Does 1-10, is a moniker/fictitious name for individuals and

entities currently unknown but will be substituted when known, as affiliated, associated or liable

hereunder for the reasons set forth below or inferred therefrom. Each of these parties are

incorporated as Defendants in each and every count and averment listed above and below.

        III.   OPERATIVE FACTS

        11.    At all times relevant hereto, Plaintiffs and Defendants Commanding Officers

Boyle and Evers were assigned to the Narcotics Bureau of the PPD.

        12.    At all times relevant, Defendants Boyle and Evers were and are the Commanding

Officers of the Narcotics Bureau whose responsibilities consist of overseeing the operations and

conduct of PPD personnel assigned to the Narcotics Bureau.

        13.    At all times relevant, Plaintiff, Staff Inspector Frazier is and was the only African

American assigned to the Narcotics Bureau who holds the rank of Staff Inspector. Plaintiff Staff

Inspector Frazier is also the designated Integrity Officer of the Narcotics Bureau. Plaintiff Staff

Inspector Frazier is the highest ranking African American police official in the Narcotics Bureau.

       14.     At all times relevant, Plaintiff, Officer Bryant, is and was assigned and employed

as Staff Inspector Frazier's aide. Officer Bryant is the only black aide for the only black

Inspector in the Narcotics Unit.



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         15.    At all times relevant, Plaintiff, Captain Vann, is and was the only African

 American assigned to the Narcotics Bureau who holds the rank of Captain.

         16.    At all times relevant Plaintiff, Lieutenant Burton, is an African American

 assigned to the Narcotics Bureau.

        17.     At all times relevant, each of the Plaintiffs performed their duties of employment

in a satisfactory manner.

        18.     In or around March 2017, Defendants Boyle and Evers became the commanding

officers of the Narcotics Unit.

        19.     Since becoming the commanding officers of the Narcotics Unit, Commanding

Officers implemented illegal policies, practices, customs and/or orders and subsequently

retaliated against Plaintiffs as a direct result of their refusal to follow and/or opposition to same.

        20.    The aforementioned and later described retaliation further exacerbated the already

hostile work environment to the point of a crisis.

                          DEFENDANTS' ILLEGAL ORDERS
                    TO FALSIFY NARCOTICS PROPERTY RECEIPTS

        21.    In March 2017, the Commanding Officers conducted a Narcotics Bureau-wide

meeting at which Plaintiffs were present.

        22.    At said meeting, Defendants directed Plaintiffs and all officers of the Narcotics

Bureau to gather information by "flipping" arrestees, which policies included illegal commands

and procedures to make "make the drugs go away" by falsification of property receipts that are

used in court prosecutions to identify narcotics and chain of custody of evidence.

       23.      Through "flipping," Commanding Officers expect and require officers to obscure

the source of recovered narcotics if an arrestee is willing to provide information by falsifying the




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property receipt required pursuant to the arrest, which circumvents the approved Confidential

Informant Directive that is currently in place in the Department.

        24.     Property Receipts are official police records that are required to be completed

truthfully upon the recovery or seizure of narcotics or other property by police.

        25.     Each time items are recovered incident to an arrest, e.g., drugs, money, or other

evidence, officers are required to include the recovered property in Property Receipt that

identifies the purported owner (the arrestee) of said property as well as the specific location and

description of the recovered property.

        26.     However, through the illegal "flipping" policies, Boyle and Evers have instructed

the Narcotics Unit officers not to truthfully state the source of the recovered narcotics.

        27.      "Making the drugs go away" is achieved by falsifying the Property Receipt that

lists the recovered items.

        28.     Commanding Officers explicitly instruct officers to omit the arrestees' name,

and/or the specific location of the recovered item as well as by listing recovered items on the

property receipt as "investigative objects" and/or as "recovered on the highway," without

identifying the arrestee from whom the narcotics were taken.

        29.     Property receipts are a primary item of evidence in any drug prosecution because

such receipts establish the source of the alleged illegal narcotics or property, and documenting

the chain of custody of same.

        30.     Property Receipts are signed by police officers and approved by supervisors.

        31.     The practice of falsification of property receipts brings into question the integrity

of evidence, validity pf prosecutions, and credibility of those narcotics officers who sign false

receipts, and further puts arrestees' constitutional rights at serious risk.



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            32.     For all material purposes, Commanding Officers, determine the policies,

 practices, and/or customs of the Narcotics Unit through their explicit orders to those under their

 command.

            33.     As the aforementioned Orders have been given by the Commanding Officers on

 numerous occasions, the Orders have created the practice and/or custom of the Narcotics Unit

while commanded by the Commanding Officers.

                  PLAINTIFFS' REFUSAL TO ENGAGE IN ILLEGAL PRACTICES

        34.         At all times relevant hereto, each of the Plaintiffs have refused to engage in the

illegal flipping practices and have taken actions to oppose the said practices including, but not

limited to, verbal complaints and/or written memorandums submitted through the chain of

command.

        35.        Additionally, Plaintiffs reported their opposition to the illegal flipping practices

during various Internal Affairs interviews.

        36.        Further, Plaintiff, Debra Frazier met with and informed non-party, First Deputy

Commissioner of Field Operations, Myron Patterson of the aforementioned illegal flipping

practices. Patterson told Plaintiff that he would inform non-party, Police Commissioner Richard

Ross, Jr.

        37.        Likewise, Plaintiff, Laverne Vann met with and informed non-party, Deputy

Commissioner of Special Operations, Dennis Wilson the aforementioned illegal flipping

practices. Wilson told Plaintiff that he would inform non-party, Police Commissioner Richard

Ross, Jr.

       38.         It is believed and therefore averred that Police Commissioner Richard Ross, Jr.

was informed of the aforementioned illegal flipping practices by Patterson and/or Wilson.



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       39.     It is believed and therefore averred that despite Police Commissioner Richard

Ross, Jr.'s knowledge of the aforementioned illegal flipping practices, the illegal flipping

practices continued and may be ongoing.

                       RETALIATION FOR PLAINTIFFS' REFUSAL
                         TO ENGAGE IN ILLEGAL PRACTICES

       40.     Subsequent to Plaintiffs making the aforementioned reports, Commanding

Officers have retaliated against each of the Plaintiffs by subjecting them to adverse actions,

including but not limited to the following:

               a. Commanding officers have threatened to change the locks to Plaintiff Staff

                   Inspector Frazier's office with no explanation or cause; have harassed her

                   aide, Plaintiff Officer Bryant; have nitpicked her weekly reports in an effort to

                   create a paper trail to indicate she is not doing her job properly; have required

                   her to discipline her aide, Officer Bryant, for false reasons; have intentionally

                   shunned and excluded her from proper participation in the leadership of the

                   Narcotics Unit; and, have accused her of not working when she was in fact

                   working.

               b. Plaintiff Captain Vann was ordered to undergo "bike training" which is task

                   for "bike cops" that no Captain has ever been required to perform in the

                   Narcotics Unit. As a result of this unprecedented directive, Captain Vann, who

                   informed Commanding Officers that she never learned how to ride a bicycle,

                   and that she would not be able to complete the "training," fell off of the

                  bicycle and sustained serious injuries that left her hospitalized for several days

                   and forced her to go out on medical leave. Commanding Officers have also




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                    made it known to Captain Vann that they intend to involuntarily transfer her

                    to keep her quiet and punish her for her opposition to the illegal practices.

                c. Commanding Officers have falsely accused Plaintiff Lieutenant Anthony

                    Burton of misusing his assigned squad vehicle, and took that vehicle away

                    from him so it could be assigned to a more junior officer. Additionally,

                    Lieutenant Burton has been subjected to false discipline and accusations for

                    non-existent policy violations; has been secretly recorded in his office; has

                    had his transfer requests intentionally delayed by inclusion of a disparaging

                    and false memorandum in his transfer file, in an attempt to thwart his

                    opportunity to transfer; and, has been falsely accused of submitting incorrect

                   paperwork.

                d. Commanding Officers intentionally delayed or ignored Plaintiff Police Officer

                   Shamal Bryant's overtime requests; have denied her opportunities for

                   overtime without cause and despite there being shifts available; have harassed

                   her with false accusations of disciplinary violations, and have directed her to

                   cease inquiries concerning the overtime and assignments to which she is

                   entitled.

       41.     Further, subsequent to the filing of this litigation, Defendants have further

retaliated against Plaintiffs by subjecting them to adverse actions, including but not limited to

being subjected to false accusations, disciplinary warnings based on non-existent policy

violations, and unfounded Internal Affairs investigations.




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         42.     Additionally, subsequent to the filing of this litigation, Plaintiff Staff Inspector

Frazier made a written request to Internal Affairs for a wand-sweep of her work office in search

for any hidden listening devices.

         43.      On the day following Plaintiff Staff Inspector Frazier's written request, Plaintiff

found her work office broken into and a ceiling light tampered with.

         44.      On information and belief, Commanding Officers directed the hidden listening

device to be removed from Plaintiff Staff Inspector Frazier's office upon learning of Plaintiffs

written request.

       EXACERBATION OF THE ALREADY HOSTILE WORK ENVIRONMENT1

         45.     The aforementioned retaliation further exacerbated the already hostile work

environment to the point of a crisis.

         46.     The workplace was already was already hostile prior to the aforementioned

retaliation due to the following examples of discrimination in the Narcotics Bureau:

                 a. Commanding Officers allowed a confederate flag, a symbol of racism, white

                      supremacy, and slavery, to be displayed on a Corporal's vehicle while parked

                      at the workplace in full view of fellow law enforcement officers as well as

                      persons in minority communities;

                 b. Commanding Officers have referred to persons in minority communities by

                     offensive names including "scum," and refer to the killing of persons in

                     minority communities as "thinning the herd;"




        Plaintiffs' claims concerning discrimination and hostile work environment are currently pending before the
Pennsylvania Human Relations Commission. Plaintiffs reserve the right to bring these claims in a separate action
once they exhaust their administrative remedies.

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                 c. Commanding Officers have assigned African American officers to more

                     dangerous locations and less favorable assignments and while assigning the

                     more beneficial shifts and safer locations to similarly situated white officers;

                     and

                 d. Commanding Officers have subjected African American supervising officers

                     to terms and conditions of employment different from those of similarly

                     situated white supervising officers.

        47.      Defendants' conduct compromises the integrity of the Narcotics Unit, the PPD

and justice system whose protections are guaranteed by the Constitutions of the United States as

well as the Commonwealth of Pennsylvania.

        48.      As such, there is an unjustifiable risk that cases and testimony against minority

arrestees have been and will continue to be tainted by racial bias and intentional discrimination

and it is imperative that prosecutions and convictions be reviewed due to both discriminatory

intention as well as falsification of property receipts and other evidence, as stated.

        IV.      COUNTS OF ACTION

                        COUNT I - CIVIL RIGHTS VIOLATION
                                   42 u.s.c. § 1983
                 RETALIATION FOR OPPOSITION TO ILLEGAL POLICIES
                                Plaintiffs v. Defendants

        49.      Plaintiffs incorporate by reference all prior paragraphs as if fully set forth at

length herein.

        50.      Defendants took the aforementioned adverse actions against Plaintiffs in

retaliation to their participation in the protected activity of opposing illegal flipping practices,

which includes falsifying documents and evidence related to the recovery of drugs in arrests and

operations.


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          51.    As a result of Defendants' actions as aforesaid, Defendants have denied Plaintiffs

the right to the same terms, conditions, privileges and benefits of their employment agreement

with the City of Philadelphia Police Department, in violation of 42 U.S.C. § 1981.

          52.    Such violation of 42 U.S.C. § 1981 is actionable against the City of Philadelphia,

a municipal entity, pursuant to 42 U.S.C. § 1983.

          53.    Said retaliation against Plaintiffs have affected Plaintiffs to their detriment.

          54.    Said retaliation would detrimentally affect a reasonable person under similar

circumstances.

          55.    Said retaliation exacerbated the already hostile work environment to the point of a

crisis.

          56.    Said violations were done intentionally and/or knowingly with malice or reckless

indifference, and warrant the imposition of punitive damages.

          57.    As a direct and proximate result of Defendants' violation of 42 U.S.C. § 1983

Plaintiffs have suffered the damages and losses set forth herein and have incurred attorneys' fees

and costs.

          58.    Plaintiffs are suffering and will continue to suffer irreparable injury and monetary

damages as a result of Defendants' retaliatory acts unless and until this Court grants the relief

requested herein.

          59.    The wrongful acts and conduct of Defendants were done with deliberate

indifference to the statutory and constitutional rights of Plaintiffs.

          60.    As such, Plaintiffs have and continue to suffer damages as set forth herein.




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                           COUNT II- WHISTLEBLOWER LAW
                              43 P.S. LABOR§ 1421, ET SEQ
                     RETALIATION FOR OPPOSITION TO WRONGDOING
                                   Plaintiffs v. Defendants

         61.      Plaintiffs incorporate by reference all prior paragraphs as if fully set forth at

 length herein.

         62.      Plaintiffs took actions to oppose the Commanding Officers orders to engage in

 illegal flipping practices.

        63.       The Commanding Officers' orders to engage in illegal flipping practices meets

the definition of"wrongdoing" as defined in 43 P.S. Labor§ 1422.

        64.       Defendants took the aforementioned adverse actions against Plaintiffs in

retaliation for their participation in the protected activity of opposing illegal flipping practices.

        65.       Said retaliation has affected Plaintiffs to their detriment.

        66.       Said retaliation would detrimentally affect a reasonable person under similar

circumstances.

        67.       Said violations were done intentionally and/or knowingly with malice or reckless

indifference and warrant the imposition of punitive damages.

        68.       As a direct and proximate result of Defendants' violation of 43 P.S. Labor§ 1421,

et seq., Plaintiffs have suffered the damages and losses set forth herein and have incurred

attorneys' fees and costs, to which Plaintiffs are entitled to compensation.

        69.       Plaintiffs are suffering and will continue to suffer irreparable injury and monetary

damages as a result of Defendants' retaliatory acts unless and until this Court grants the relief

requested herein.

        70.       The wrongful acts and conduct of Defendants were done with deliberate

indifference to the statutory and constitutional rights of Plaintiffs.


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        71.     As such, Plaintiffs have and continue to suffer damages as set forth herein.

        V.      PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs seek damages and legal and equitable relief in connection

with Defendants' improper conduct and specifically prays that this Court grant the following

relief to Plaintiffs:

        a)      declaring the acts and practices complained of herein to be in violation of

                Sections 1981, 1983, and 1421, et seq.;

        b)      enjoining and permanently restraining the violations alleged herein;

        c)      entering judgment against the Defendants and in favor of Plaintiffs in an

                amount to be determined, including compensatory and punitive damages;

        d)      awarding Plaintiffs such other damages as are appropriate under Sections 1981,

                1983, and 1421, et seq.;

        e)      awarding Plaintiffs the costs of suit, attorneys' fees; and expert fees and other;

                and

       :f)      granting such other and further relief as this Court may deem just, proper, or

                equitable including other equitable and injunctive relief providing restitution

                for past violations and preventing future violations.



                                                     Respectfully Submitted,




DATED: 5-10-2018                                     DATED: 5-10-2018



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DATED: 5-10-2018




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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DEBRA FRAZIER, et al.                               CIVIL ACTION
                                                    DOCKET NO.: 2:17-cv-05421
                      Plaintiffs
                 v.

CITY OF PHILADELPHIA, et al.                        JURY TRIAL OF TWELVE (12)
                                                    JURORS DEMANDED
                      Defendants.

                                   CERTIFICATE OF SERVICE

       I, Matthew B. Weisberg, Esquire, hereby certify that on this 9th day of May, 2018, a true

and correct copy of the foregoing Plaintiffs' Second Amended Civil Action Complaint was

served via ECF, upon the following party:

Christopher H. Rider, Esq.
City of Philadelphia Law Dept.
1515 Arch Street, 16th Floor
Philadelphia, PA 19102




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